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[Doabtate] [District Order Abating Application to Employ]




                                            ORDERED.
Dated: January 18, 2019




                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                             TAMPA DIVISION
                                            www.flmb.uscourts.gov



In re:                                                                  Case No.
                                                                        8:18−bk−09240−RCT
                                                                        Chapter 7
Jeanna Sue Reedy



________Debtor*________/

                                ORDER ABATING APPLICATION TO EMPLOY

    THIS CASE came on for consideration, without hearing, on the Application to Employ ("Application")
filed by Trustee , Doc. No. 29 . After review, the Court determines that the Application is deficient as follows:

             The Application does not include an original or electronic signature of the applicant's
         attorney as required by Fed. R. Bankr. P. 9011.

            The Application does not include a signed and dated proof of service as required by Local
         Rule 9013−1.

              The Application is not accompanied by a verified statement of the person to be employed
         setting forth the person's connections with the Debtor, creditors, any other party in interest,
         their respective attorneys and accountants, the United States Trustee, or any person employed
         in the office of the United States Trustee as required by Fed. R. Bankr. P. 2014.

              The Application does not provide the name of the professional person to being employed
         as required by Fed. R. Bankr. P. 2014.

            The Application does not provide the reason for the selection of professional person being
         employed as required by Fed. R. Bankr. P. 2014.

             The Application does not provide the professional service to be rendered by the
         professional person being employed as required by Fed. R. Bankr. P. 2014.

             The Application does not provide the proposed arrangement for compensation as required
         by Fed. R. Bankr. P. 2014.
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   Accordingly, it is

   ORDERED:

   Consideration of the Application is abated until the deficiency is corrected.



The Clerk's office is directed to serve a copy of this order on interested parties.

*All references to "Debtor" shall include and refer to both the debtors in a case filed jointly by two
individuals.
